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7                        UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
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     LARRY S.,                                    Case No. 2:20-CV-06027 (VEB)
10
                           Plaintiff,             JUDGMENT
11
     vs.
12
     KILOLO KIJAKAZI, Acting
13   Commissioner of Social Security,

14                         Defendant.

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           For the reasons set forth in the accompanying Decision and Order, it is hereby
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     DECREED THAT (1) Plaintiff’s request for an order remanding this case for further
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     proceedings is GRANTED and the Commissioner’s decision is REVERSED; (2) the
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     Commissioner’s request for an order affirming the Commissioner’s final decision and
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                    JUDGMENT – LARRY S. v KIJAKAZI 2:20-CV-06027-VEB
     Case 2:20-cv-06027-VEB Document 24 Filed 10/25/21 Page 2 of 2 Page ID #:688




1    dismissing the action is DENIED; (3) judgment is entered in Plaintiff’s favor and this

2    matter is REMANDED for further proceedings consistent with the Decision and

3    Order; and (4) this case is CLOSED without prejudice to a timely application for

4    attorneys’ fees and costs.

5          DATED this 25th day of October 2021,

6                                              /s/Victor E. Bianchini
                                               VICTOR E. BIANCHINI
7                                          UNITED STATES MAGISTRATE JUDGE

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                     JUDGMENT – LARRY S. v KIJAKAZI 2:20-CV-06027-VEB
